                 Case 2:15-cr-00131-TLN Document 359 Filed 04/25/18 Page 1 of 3

 1   Andres Salas (SBN 311242)
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 3   Sacramento, CA 95814
     Phone: (916) 443-9500
 4   Fax: (916) 443-9501
 5
     Attorney for Defendant
 6   LEOBARDO MARTINEZ-CARRANZA
 7
 8
                                     UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                           )       Case No.: 2:15-CR-00131-TLN
12                                                       )
                                       Plaintiff,        )       STIPULATION AND ORDER TO
13                                                       )       CONTINUE SENTENCING
14          v.                                           )       HEARING
                                                         )
15                                                       )       DATE:         April 26, 2018
                                                         )       TIME:         9:30 a.m.
16                                                       )       COURT:        Hon Troy L. Nunley
     LEOBARDO MARTINEZ-CARRANZA                          )
17                                                       )
                    Defendant.                           )
18                                                       )
                                                         )
19                                                       )

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21
22          IT IS HEREBY STIPULATED by and between plaintiff United States of America, by Samuel

23   Wong, Assistant United States Attorney; and Defendant LEOBARDO MARTINEZ-CARRANZA, and

24   his attorney of record, Jesse Ortiz, that the Sentencing Hearing presently set for April 26, 2018 at 9:30
     a.m., in Courtroom 2 of the United States District Court, Eastern District, be continued at the request of
25
     defendant MARTINEZ-CARRANZA to July 12, 2018 in Courtroom 2, of the United States District
26
     Court, Eastern District.
27
            SO STIPULATED.
28


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             Case 2:15-cr-00131-TLN Document 359 Filed 04/25/18 Page 2 of 3

 1
     Dated: March 8, 2018                      __/s/ Andres Salas_________________
 2                                             Andres Salas
 3                                             Ortiz Law Group P.C.
                                               Attorney for Defendant Leobardo Martinez
 4                                             Carranza

 5
     Dated: March 8, 2018                      McGREGOR W. SCOTT
 6
                                               United States Attorney
 7
                                         By:   __/s/ Samuel Wong            ______
 8                                             Samuel Wong
                                               Assistant United States Attorney
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              Case 2:15-cr-00131-TLN Document 359 Filed 04/25/18 Page 3 of 3

 1                                                    ORDER
 2          IT IS HEREBY ORDERED that the Sentencing Hearing presently set for April 26, 2018 at 9:3

 3   a.m., in Courtroom 2 of the United States District Court, Eastern District, is continued at the request of
     defendant MARTINEZ-CARRANZA to July 12, 2018, at 9:30 a.m., in Courtroom 2, of the United
 4
     States District Court, Eastern District.
 5
 6
     DATED: April 25, 2018
 7
 8                                                               Troy L. Nunley
                                                                 United States District Judge
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